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  Fill in this information to identify the case:
Debtor 1          Christopher M. Hartsfield

Debtor 2            Heidi M. Hartsfield
(Spouse, if filing)
United States Bankruptcy Court for the: Southern               District of Ohio
                                                                           (State)
  Case number: _13-bk-12919_______________


  Official Form 4100R
  Response to Final Cure Payment                                                                                                                                        10/15
  According to Bankruptcy Rule 3002.1(g), the creditor response to the trustee's notice of final cure payment.

  Part 1:                       Mortgage Information

  Name of Creditor:    US Bank National Association, as Successor Trustee, to Bank of America,                              Court Claim no. (if known)
  National Association, successor by merger to LaSalle National Association, as Trustee for Ownit                           5&7
  Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2006-4

  Last 4 digits of any number you use to identify the debtor's account: XXXXXX5685

  Property address:             5435 Amanda's Oak Court
                                Number             Street




                                Cincinnati, OH 45248
                                City                         State       Zip Code

  Part 2:                       Prepetition Default Payments

  Check One:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
       of the response is:                                                                                                                             $

  Part 3:                       Postpetition Mortgage Payment

  Check One:

       Creditor agrees that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor is on:
                                                                                     MM/ DD / YYYY

      Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
      of the Bankruptcy Code, including all fees, charges, expenses, escrow and costs.

       Creditor asserts that the total amount remaining unpaid as of the date of this responses is:

           a. Total postpetition ongoing payments due:                                                                                            (a) $560.11
           b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                       (b)
           c. Total. Add lines a and b.                                                                                                           (c) $5,934.70
           Creditor asserts that the debtor(s) are contractually
           obligated for the postpetition payments that first became
           due on:                                                   03/01/2018                   *** Partial payment for 03/01/2018 due. Next full payment due is 04/01/2018.
                                                                                     MM / DD / YYYY




  Official Form 4100R                                           Response to Notice of Final Cure Payment                                                                Page 1
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           Debtor 1      Christopher M. Hartsfield                                                               Case number: _13-bk-12919
                         First Name         Middle Name           Last Name




Part 4:                  Itemized Payment History

    If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
    debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow and costs,
    the creditor must attach an itemized payment history disclosing the following amounts from the date of the
    bankruptcy filing through the date of this response:

     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.

Part 5:                   Sign Here

The person completing this notice must sign it. The response must be filed as a supplement to the creditor's
proof of claim..

Check the appropriate box

    I am the creditor.

    I am the creditor’s authorized agent.

I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge, information, and reasonable
belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

X     /s/ Matthew Murtland                                                       Date: June 18, 2018
      Signature

Print:        Matthew Murtland, Esq.                                             Title Attorney for Creditor
              First Name          Middle Name                 Last Name

Company       Shapiro, Van Ess, Phillips & Barragate, LLP

Address       4805 Montgomery Road, Suite 320
              Number       Street

              Norwood, OH 45212
              City                                        State   ZIP Code

Contact       (513) 396-8100                                                     Email mmurtland@logs.com
phone




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                                                              Certificate of Service
I hereby certify that a copy of the foregoing Response to Notice of Final Cure Payment was served on the parties listed below by postage prepaid U.S. Mail,
First Class or served electronically through the Court's ECF System at the e-mail address registered with the court on

Date:   June 18, 2018
Chapter 13 Trustee: Margaret A. Burks

Trustee Address: 600 Vine Street, Suite 2200, Cincinnati, OH 45202

Trustee Email:


Debtor's Counsel Name: Henry D. Acciani and Jayma Bagliore

Debtor's Counsel Address: 600 Vine Street, Suite 1600, Cincinnati, OH 45202 and 600 Vine Street, Suite 1600, Cincinnati, OH 45202

Debtor's Counsel Email: rje@oal-law.com



Debtor 1 Name: Christopher M. Hartsfield

Debtor's Mailing Address: 5435 Amanda's Oak Court, Cincinnati, OH 45248

Debtor Email:


Debtor 2 Name: Heidi M. Hartsfield

Debtor's Mailing Address: 5435 Amanda's Oak Court, Cincinnati, OH 45248

Debtor Email:


                                                                               /s/ Matthew Murtland
                                                                               Matthew Murtland
                                                                               Shapiro, Van Ess, Phillips & Barragate LLP
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 due date   due amt      rcvd date rcvd amt
 4/1/2017   1841.99    trustee paid 12893.93
 5/1/2017   1841.99    trustee paid 4543.95
 6/1/2017   1841.99    trustee paid 2315.85
 7/1/2017   1841.99    trustee paid 1689.12
 8/1/2017   1841.99
 9/1/2017   1841.99
10/1/2017   1841.99
11/1/2017   1841.99
12/1/2017   1841.99
 1/1/2018   1841.99
 2/1/2018   1791.53                                delinquent payments
3/1/2018      due                                  3/1/2018 1791.53
 4/1/2018                                          4/1/2018 1791.53
 5/1/2018                                          5/1/2018 1791.53
 6/1/2018                                          6/1/2018 1791.53
 7/1/2018                                          7/1/2018
   total    20211.43               21442.85          total    7166.12
